G. R. KINNEY COMPANY, INC., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.G. R. Kinney Co. v. CommissionerDocket Nos. 31397, 32980.United States Board of Tax Appeals26 B.T.A. 1091; 1932 BTA LEXIS 1191; October 4, 1932, Promulgated *1191  1.  Intangibles allowable for invested capital purposes under section 326(a)(4) of the Revenue Acts of 1918 and 1921, determined.  2.  Where a taxpayer voluntarily changes its accounting period from a fiscal year basis ending January 31 to a calendar year basis, held, that a net loss sustained in the 11-month period ended December 31, 1921, the period preceding the first calendar year, may not be availed of under the provisions of section 204 of the Revenue Act of 1921 in determining net income subject to tax for the calendar year 1922.  Paul Armitage, Esq., and Edward Holloway, Esq., for the petitioner.  Harold Allen, Esq., and L. H. Rushbrook, Esq., for the respondent.  SEAWELL*1091  These proceedings involve deficiencies in income and profits taxes as determined by the Commissioner for the period February 13, 1919, to January 31, 1920, the fiscal year ended January 31, 1921, and the calendar year 1922 in the respective amounts of $90,500.69, $32,943.96 *1092  and $45,220.59.  In the petitions various errors were assigned, but an agreement was reached at or prior to the hearing on all except two of them.  The issues left*1192  for consideration are (a) whether good will acquired by the petitioner at the date of its organization as a successor to certain partnerships may be included in invested capital and (b) whether a net loss sustained by the petitioner for the 11-month period ended December 31, 1921, may be carried forward and allowed as a deduction in determining consolidated net income for 1922.  FINDINGS OF FACT.  In 1894 George R. Kinney started in the retail shoe business at Waverly, N.Y.  After operating successfully there for some time, he opened three additional stores in New York State at Binghamton, Corning and Elmira.  About 1898 he was joined by Edwin H. Krom, who paid $1,200 for a one-third interest in the Binghamton store.  In 1898 there were eight stores and in 1904 there were 15.  By 1909 the number had increased to 24 and by 1917, at the time the petitioner was organized as hereinafter indicated, the number had increased to 48.  In 1920 there were 65, and at the time of the hearing in these proceedings the number had increased to 425.  When a store was found unprofitable it was discontinued, but only a small number had been discontinued by 1917.  The 48 stores which were operating*1193  in 1917 were located in New York, Pennsylvania, Ohio, Michigan, Indiana, Illinois, Minnesota, Alabama, Virginia, West Virginia, New Jersey, Iowa, Wisconsin and Missouri.  The stores sold a low-priced shoe and differed from some of the other chain shoe stores not only in the price range, but also in that they sold shoes for the entire family instead of specializing in shoes for certain members of the family.  Each store was operated as a separate partnership with Kinney as a partner in each.  Krom was a partner in 40 of the 48 stores which were operating in 1917.  When it was desired to open a store in a given place, a local man was sought as a manager who would become a partner.  In addition, partners in other stores and employees were given an opportunity to invest in the new stores on a partnership basis.  In this manner a series of partnerships were built up and were operating in 1917.  They were known as the Kinney Shoe Stores, and the shoes sold were known as Kinney shoes.  The leases for the stores were taken in the name of G. R. Kinney Company and the accounts were handled in the same name.  The stores operated on a cash basis as far as sales were concerned and each day as*1194  cash was received it was deposited in a bank to the credit of an account known *1093  as G. R. Kinney Company.  The purchasing was carried out from a central office and a daily report was forwarded by each store to that office, showing all sales made.  At the end of each year a report was sent out showing the profits for each store and a distribution of profits was made in accordance with the holdings of the partners in the respective stores.  The business made a gradual but substantial increase from its inception.  The tangible assets employed in each store consisted principally of the stock of goods on hand for sale, fixtures and cash.  The gross and net tangible assets and net earnings of the stores as a group for the five years preceding 1917 as compiled from annual statements prepared by George R. Kinney and submitted to the various partners as a basis for their annual settlements were as follows: Tangible assets at beginning of yearYearGrossNetNet earnings1912$792,916.91$312,517.58$136,411.8819131,109,539.56445,182.73124,086.7619141,047,028.06520,157.60132,711.1619151,297,466.87655,147.56169,325.6319161,519,736.97786,351.91343,460.82Total5,766,688.372,719,357.38905,996.25Average1,153,337.67543,871.48181,199.25*1195  The petitioner was organized on January 23, 1917, to buy or otherwise acquire "the business good will, franchise, rights and property" of the business theretofore conducted by the several partnerships referred to above as the G. R. Kinney Company.  The authorized stock consisted of 15,000 shares of 8 per cent cumulative preferred stock of a par value of $100 per share and 30,000 shares of common stock of no par value.  Preferred stock at par was issued to the various partners for the net tangible assets in the total amount of $901,692.27 and 25,000 shares of no par value common stock was issued for the "business and good will" of the partnerships.  The common stock was divided among the several stores on the basis of their earning capacity.  The following paragraph is taken from a letter addressed to one of the partners during negotiations for the formation of the petitioner which letter is similar to that addressed to other partners: Now the plan is to incorporate among ourselves, issue $1,500,000 preferred stock at 8%, 500,000 to be left in the treasury.  Issue $3,000,000 common stock, give to each partner the actual amount of their investment in preferred stock and divide the*1196  common stock between the stores on the basis of their earning capacity, so that each partner individually will have an equitable distribution of the common stock.  *1094  In 1919 the petitioner acquired the stock of the J. Landis Shoe Company, Johnson-Baillie Shoe Company, Bedford Shoe Company, and Perry-Norvell Company, and consolidated returns were filed for those companies and the petitioner for the 11-month period ended December 31, 1921, and the calendar year 1922.  It was stipulated that the results of operations of the several affiliated corporations for the aforementioned periods were as follows: Eleven-month period ended December 31, 1921G. R. Kinney Company, Inc. (loss)$998,194.21Bedford Shoe Company Income$191,082.84Perry-Norvell Company Income76,428.78J. Landis Shoe Company Income195,066.18Johnson-Baillie Shoe Company Income254,814.60717,392.40Consolidated net loss280,801.81Calendar year 1922G. R. Kinney Company, Inc. Income$147,349.21Bedford Shoe Company Income178,583.63J. Landis Shoe Company Income242,544.88Johnson-Baillie Shoe Company Income282,613.41Perry-Norvell Company Income111,907.95*1197  Prior to the 11-month period ended December 31, 1921, the petitioner was on a fiscal year basis, its fiscal year ending on January 31 of each year, but it changed to a calendar year basis, its first year on the new basis being the calendar year 1922.  Consolidated returns were filed for the affiliated group for the fiscal year ended January 31, 1921, the 11-month period ended December 31, 1921, and the calendar year 1922.  OPINION.  SEAWELL: In the petitions and amended petitions filed in these proceedings, various errors were assigned, but at the hearing a stipulation was submitted as to all of the issues raised in Docket No. 32980 except that relating to the allowability of certain good will for invested capital purposes.  The agreements as reached are incorporated herein by reference and will be given due effect by the parties when a computation is made under Rule 50.  The issue as to invested capital arises in this manner: The petitioner is the successor to a chain-store shoe business which was started in 1894 as a partnership.  From the one store with which the business began it had increased by 1917, when the petitioner was organized, to 48 stores.  Each store was a separate*1198  partnership, though G. R. Kinney, the founder of the business, was a partner in each store and *1095  each store was conducted under the same name.  Many of the individuals connected with the enterprise were partners in more than one store.  In January, 1917, the business was incorporated under the name of the petitioner and all assets, both tangible and intangible, were transferred to the petitioner.  While the record does not specifically show the assumption of liabilities of the partnership by the petitioner, as we understand the situation such was the case; that is, there was a true instance of succession of the partnerships by a corporation in which all assets of the partnerships were transferred to the corporation and all liabilities of the partnerships were assumed by the corporation, and the corporation issued its stock to the partners for their several interests in the assets.  While the amount of preferred stock authorized was in the amount of $1,500,000, all of it was not issued upon organization of the petitioner, but a smaller amount at par represented by the net value of the tangible assets of the partnerships in the amount of $901,692.27.  When the remaining preferred*1199  stock was issued does not appear and there is nothing in the record to show that other than the foregoing amount was outstanding at March 3, 1917.  Twenty-five thousand shares of common stock of no par value were issued for the intangible assets of the partnerships.  The controversy arises as to whether an amount may be included in invested capital and, if so, how much, on account of the acquisition of the good will of the partnerships through the issuance of common stock therefor.  In the first place, it is suggested by the Commissioner that even though the petitioner was organized on January 23, 1917, and stock at that time issued for the assets of the partnerships in accordance with an agreement between the partners and the petitioner, the transaction would be considered as having occurred after March 3, 1917, and therefore coming within the provisions of section 331 of the Revenue Acts of 1918 and 1921, since certain formal bills of sale for the transfer and conveyance of the property were not executed until July 1, 1920.  That is, the Commissioner suggests that no good will is allowable, since the conveyance of assets occurred after March 3, 1917.  We can not agree with this*1200  contention.  The corporation was not only organized on January 23, 1917, but stock was issued at that time for the assets of the partnerships, such issuance of stock being in conformity with agreements between the parties.  The petitioner operated the business from the date of organization through the years in controversy and exercised every evidence of full and complete ownership of the assets.  G. R. Kinney, the founder and moving spirit in the business, died in 1919 and we have little evidence as to the reason for the delay in the execution of the bills of sale, but the record as a whole convinces us that such execution was merely a *1096  formal matter which was carried out to complete the record as to something which actually occurred at the date of the organization of the petitioner.  Since we are of the opinion that the transaction represented the acquisition of assets prior to March 3, 1917, in which common stock was issued for the intangible assets of the partnerships, our question as to the amount allowable in invested capital on account of the acquisition of intangibles is governed by section 326(a) of the Revenue Acts of 1918 and 1921, which reads in part as follows: *1201  That as used in this title the term "invested capital" for any year means * * *: * * * (4) Intangible property bona fide paid in for stock or shares prior to March 3, 1917, in an amount not exceeding (a) the actual cash value of such property at the time paid in, (b) the par value of the stock or shares issued therefor, or (c) in the aggregate 25 per centum of the par value of the total stock or shares of the corporation outstanding on March 3, 1917, whichever is lowest.  In the first place, the Commissioner states in his brief that "The evidence shows that the common stock issued for the intangibles was of no par value, therefore, not any amount could be included under subsection b." This argument, however, overlooks section 325(b) of the Revenue Acts of 1918 and 1921, which provides that: (b) For the purposes of this title, the par value of stock or shares shall, in the case of stock or shares issued at a nominal value or having no par value, be deemed to be the fair market value as of the date or dates of issue of such stock or shares.  Since we are satisfied that the stock had a fair market value, as will be shown below, the limitation under subsection (b) will be based*1202  upon such fair market value.  The question presented to which the evidence was largely directed was the limitation provided by subsection (a) (section 326, supra ), namely, the cash value of the good will at the date paid in.  It is contended by the petitioner that the good will had a value at the date of organization of at least $3,000,000.  In the first place, various computations are made, based upon a capitalization of earnings, and these computations show amounts which the petitioner would have us adopt as the value of good will at the date of organization, ranging from $2,353,637 to $5,964,544.80.  In making such computations the petitioner used 8 per cent as a fair return on net tangible assets and capitalized the excess of earnings over such return at various rates from 5 to 12 per cent.  Various combinations of earnings were used, including the earnings for the five years set out in our findings as well as the three years subsequent to the organization of the petitioner.  The Commissioner objects to the computations on the ground of the capitalization rates, the use of *1097  net rather than gross tangibles, and the correctness of the figures used to show earnings*1203  and net tangible assets.  In fact, the Commissioner says that instead of using the average earnings for the five years preceding incorporation of the petitioner and those of the three years succeeding its organization, as proposed in one of the petitioner's computations, a more nearly correct result would be obtained by taking a 10-year period - five years before and five years after organization of the petitioner.  While the petitioner earned substantial profits for the three years succeeding its organization, it sustained large losses in the fiscal year ended January 31, 1921, and the 11-month period ended December 31, 1921, and consequently, when a computation is made as suggested by the Commissioner, no excess earnings remain on which an intangible or good will value might be predicated.  We have not set forth the earnings subsequent to the organization of the petitioner nor will we attempt to comment on all of the computations submitted, since we can not see that any useful purpose would be served thereby.  Suffice it to say that we are not convinced that the large values computed by the petitioner are supported by the record.  If we take the average annual earnings and average*1204  net tangible assets for the 5-year period preceding 1917, as compiled from statements prepared by George R. Kinney, as a basis for settlement with the partners, and compute a return of 8 per cent on net tangible assets and capitalize the excess earnings at 15 per cent, which is most favorable to the petitioner, a value for intangibles would be shown of only approximately $900,000.  The foregoing rates are often used as an aid to fixing the value of intangibles where we are concerned with a very stable and long established concern.  Here we have a well established business, but we can not overlook the fact that the greater part of tangible assets is represented by inventories which are subject to the rise and fall of commodity prices.  In fact, during the period of rising prices during the war the petitioner showed large profits, whereas when prices declined after the war very substantial losses were sustained.  Under such circumstances higher capitalization rates would seem to be justified, which in turn would mean a reduction in the intangible value as computed above.  We have further the objection of the Commissioner to the accuracy of the figures which form the basis of all of*1205  the computations.  Very incomplete records were maintained by George R. Kinney for the several partnerships and some of the records were lost.  What the petitioner presented was secondary evidence in the form of annual statements which were prepared by Kinney as a basis for annual settlement with the partners.  While we are not convinced of their absolute accuracy, we are of the opinion that whatever *1098  inaccuracies may exist therein would not materially alter a computation of the kind here proposed.  In the next place, the Commissioner objects to the use of net, rather than gross, tangibles as a basis for the capitalization of earnings.  As pointed out in Edwin Schiele Distilling Co.,3 B.T.A. 873"&gt;3 B.T.A. 873, neither net nor gross tangibles may be unqualifiedly used where we are seeking to determine a proper return on tangible assets before allocating any excess earnings to intangibles.  In other words, if in a given case a taxpayer has a large amount of borrowed capital on which it is paying interest at the rate of say 6 per cent, it would obviously be inaccurate to compute a return on either gross or net tangibles at a different rate, say 8 or 10 per cent, without*1206  making proper adjustment for the tangible assets which are represented by borrowed money.  In the case at bar a substantial amount of borrowed capital is involved, as is evidenced by the differences between the amounts of the gross and net tangible assets, but we do not know the interest rate paid on borrowed money and therefore we are in no position to make the necessary adjustment as between a capitalization return on tangible assets and the income derived and interest paid on borrowed money.  The most that we can say is that apparently the correct result, on a capitalization basis and if we should use rates of 8 per cent and 15 per cent, would be an amount less than $900,000 as shown from the computation referred to above and more than approximately $600,000 which would follow in a similar computation by the use of gross rather than net tangibles.  We have referred to the figures submitted on a capitalization basis not only because of what might be indicated as to value by the use of such a method, but also because much of the opinion evidence has a similar foundation.  In the first place, we have the opinion of E. H. Krom, president of the petitioner and who has been connected*1207  with the business since shortly after its organization in 1894.  He placed a cash value on the good will at the date of organization of the petitioner of $2,500,000, but an examination of his testimony would indicate that this expression of opinion is predicated to a large extent on the distribution of 25,000 shares of no par common stock to the partners on the basis of the earnings of the several stores.  The method followed in distributing the common stock was to take the earnings of each store for 1916, deduct from such earnings a return of 8 per cent on the net tangible assets at the date of organization of the petitioner as the amount of dividends on the preferred stock, and then capitalize the remaining earnings at approximately 9.15 per cent.  It is argued that the result reached, namely, a valuation of $2,500,000, is entitled to much weight because it was the result of bargaining among the partners where each was seeking to obtain *1099  the most possible for himself and at the same time not allow another to gain an undue advantage, and therefore a fair value was reached.  We do not think such a result necessarily follows.  The result may be equitable in the sense that*1208  each retains the same proportionate interest, but we can not say it necessarily fixes the cash value of the good will.  The letter to the partners at the time of negotiations for the organization of the petitioner, a part of which we quoted in our findings, stated that the distribution of the common stock on the basis of earning capacity would enable each partner to receive an "equitable distribution of the common stock," but this is a long way from saying that the method used fixed the value of the intangibles for which the common stock was issued.  Obviously, an equitable distribution could have been made with a smaller as well as with a larger number of shares.  Krom testified that the common stock had a value in 1918 and 1919 equal to that in 1917, which he stated was $2,500,000, yet on the estate-tax return of G. R. Kinney, filed on August 10, 1920, fixing the value of common stock held by Kinney at his death on June 17, 1919, the value fixed was $5 per share.  Krom signed the return as one of the executors.  Of course he now says that such valuation was fixed without having given proper consideration to the value of the intangible assets for which the stock was issued, but where*1209  such a great disparity exists we can hardly be expected to accept the present statements of opinion at their face value without better explanation for the great variation between the two amounts.  Two further witnesses testified as to a cash value for the good will at the date of the organization of the petitioner of $2,500,000 to $3,000,000.  Both witnesses had been familiar with the business for many years, but we are not convinced of the soundness of their valuations.  One of them, Lord, based his valuation on a capitalization of the earnings of the partnerships for 1916 at 12 1/2 per cent, while the other predicated his valuation largely on an investigation which he made for a corporation with which he was connected for the purpose of a merger or consolidation with petitioner.  Not only did the latter event occur in 1919, but also the investigation seems to have had for its main purpose a determination of what would be a fair ratio for an exchange of stock of the petitioner for stock of the corporation which the witness represented.  Again, as we stated in regard to the testimony of Krom, what is an equitable basis for distributing stock among stockholders and what is a cash*1210  value for the assets back of the stock may represent such different considerations that the existence of one may not be helpful in proving the other.  By the foregoing we do not mean that the testimony of the witnesses as to value is to be disregarded; on the contrary, we have considered it *1100  very carefully.  From it, and the evidence offered as to the history of the business as reflected by its growth and substantial earning power, we are convinced there was a good will of substantial value which had been built up and for which the common stock was issued.  In our opinion, its cash value is reasonably determinative in the amount of $600,000 and we so find.  But this does not dispose of our question as to the good will allowable for invested capital purposes.  We have two further tests to be applied, one of which is the par value of stock issued for the intangibles in question.  As we have heretofore stated, the stock was without par value and therefore this limitation would be applicable on the basis of fair market value of the stock issued therefor.  (Section 325(b) of the Revenue Acts of 1918 and 1921.) The stock in question was the 25,000 shares of no par common stock*1211  to which we have been referring in our previous discussion.  It was unlisted and apparently the sales were confined to empoyees and stockholders of the petitioner.  The first sale we have shown in the record is at $25 per share in 1919 and the same price prevailed through 1920.  We have further the testimony that the stock was worth at least as much in 1919 as at the date of the organization of the petitioner, and the foregoing is further confirmed by evidence to the effect that the earnings of the petitioner continued to increase through 1917, 1918, and 1919.  We have fixed a value for the intangibles for which the stock was issued of $600,000, which would reflect an asset valuation of slightly less than $25 per share.  We are accordingly of the opinion that for the purpose of the limitation prescribed by subsection (b) the fair market value of common stock may be fixed at $25 per share.  We now come to apply the limitations provided by section 326(a)(4), supra, and determine the amount of good will allowable as the smallest of the following amounts: (a) The actual cash value of the good will at the time paid in, which we have fixed at $600,000; (b) the par value (here fair*1212  market value) of the stock issued for such property, fixed for that purpose at $625,000; and (c) 25 per centum of the par value of the total stock of the petitioner outstanding on March 3, 1917, $381,675, that is, 25 per cent of ($901,700 [par value of preferred stock issued for tangible assets] plus $625,000 [fair market value of no-par common stock issued for intangible assets]).  In determining the amount allowable under subsection (c) we have used as the par value of preferred stock outstanding the net tangible assets of the partnerships on January 23, 1917.  Since there was no controversy as to the invested capital allowable on account of property paid in for preferred stock, no evidence was furnished as to the preferred stock issued other than that preferred stock was issued *1101  at a par value of $100 per share for the net tangible assets and the net tangible assets were shown to have been $901,692.27 at the date the petitioner was organized.  Whether more preferred stock was issued between that date and March 3, 1917, we do not know.  We do know that the amount issued as shown in our computation was issued at the organization of the petitioner and continued to reamin*1213  outstanding through the years in controversy and we have accordingly determined the applicable limitation on that basis.  In view of the foregoing, we are of the opinion that the good will allowable for invested capital purposes in the years covered by Docket No. 32980 is in the amount of $381,675.  The remaining issue arises in Docket No. 31397 and relates to the proper treatment to be accorded a net loss sustained by the petitioner in the 11-month period ended December 31, 1921, in determining its tax liability for the calendar year 1922.  The petitioner was affiliated with four other corporations and filed consolidated returns with them for both of the aforementioned periods.  In the 11-month period, the petitioner sustained a loss in the amount of $998,194.21, which both parties have treated as, and we understand to represent, a net loss.  In the same period, each of the other corporations realized net income, the total for the four corporations being $717,392,40, thus resulting in a consolidated net loss in the amount of $280,801.81.  In 1922 each member of the affiliated group had net income, that of the petitioner amounting to $147,349.21.  The evidence is not entirely clear*1214  as to how the fractional period ended December 31, 1921, arose, though in the original petition the following allegation appears: Prior to the year in question the corporation was on a fiscal year basis ending January 31st of each year.  Prior to January 31, 1921 this Taxpayer applied permission to change from a fiscal year to a calendar year basis, which consent was granted.  It filed its returns for the 11 months' period, which showed operating loss of $335,557.23 and pursuant to Section 204-b of the Revenue Act of 1921 it carried said loss forward and deducted it from the net income of the taxable year 1922.  The Commissioner has erroneously disallowed this deduction on the ground that the preceding period was not a full period of 12 months.  The following answer was made to the foregoing allegation: Respondent denies that he erred in disallowing an alleged operating loss of $335,557.23 for a fractional period of the year 1921.  Respondent admits that the petitioner changed its accounting system from the fiscal year to the calendar year basis.  A reference to the change in accounting periods does not appear in the amended petitions and amended answers.  The record*1215  shows, *1102  however, that consolidated returns for the affiliated group were filed for the fiscal year ended January 31, 1921, the 11-month period ended December 31, 1921, and the calendar year 1922.  No new corporations came into the group during the aforementioned period.  We will accordingly proceed on the theory that the change which resulted in the filing of the return for the 11-month period ended December 31, 1921, was a voluntary change in accounting period in order that returns might thereafter be filed on a calendar year basis instead of on a fiscal year basis ending January 31.  In the arguments of the parties as set out in their briefs no reference is made to the effect, if any, on the allowability of the net loss because of the fractional period involved.  The contention advanced by the petitioner is that the consolidated net loss for the 11-month period "should be set off against the net consolidated income of the succeeding period, without limitation." This argument is, of course, answered contrary to the petitioner's position by *1216 Woolford Realty Co. v. Rose,286 U.S. 319"&gt;286 U.S. 319; Planters Cotton Oil Co. v. Hopkins,286 U.S. 332"&gt;286 U.S. 332; Swift &amp; Co. v. United States, 38 Fed.(2d) 365; Delaware &amp; Hudson Co. et al.,26 B.T.A. 520"&gt;26 B.T.A. 520; and Sailors Brothers Co.,26 B.T.A. 700"&gt;26 B.T.A. 700. The Commissioner says that he has "computed the statutory net loss in accordance with the following rulings: G.C.M. 8132-IX-1 C.B. - 287 and G.C.M. 8618-IX-2 C.B. - 180" and that his "method has been approved in the case of Commissioner v. Ben Ginsburg Co., 54 Fed.(2d) 238." What, if anything, the Commissioner would allow on the basis of the foregoing rulings does not appear.  While the deficiency notice makes no reference to net losses, and while there is nothing contained therein to indicate that anything has been carried forward to 1922 on account of the net loss sustained in the 11-month period ended December 31, 1921, it would appear from the above rulings that the Commissioner would now allow a part of the net loss sustained in the 11-month period in determining the petitioner's tax liability for 1922.  In any event, *1217  we think it clear from the authorities set out under a discussion of the petitioner's position that, aside from the question arising because of the fractional period involved, the part of the unabsorbed net loss of the petitioner for the 11-month period ended December 31, 1921, in the amount of $280,801.81 which could be availed of by the petitioner in 1922 would be $147,349.21, its net income for 1922.  In view, however, of our consistent holding in many prior cases as to a net loss sustained in a fractional period, where such fractional period arises by reason of a voluntary change in accounting period, the petitioner may not avail itself, in determining its tax liability for 1922, of any of the net loss sustained in the 11-month period ended *1103  December 31, 1921.  That is, the Board has consistently held that a fractional priod occasioned by a voluntary change in accounting period does not constitute a "taxable year" within the meaning of sections 200 and 204(b) of the Revenue Act of 1921 and therefore a net loss sustained in such period may not be carried forward and deducted from the net income of the succeeding taxable year.  *1218 Arthur Walker &amp; Co.,4 B.T.A. 151"&gt;4 B.T.A. 151; Dorsey Drug Co.,7 B.T.A 229; Strain Brothers Inc.,19 B.T.A. 601"&gt;19 B.T.A. 601; and Stevenson Consolidated Oil Co.,23 B.T.A. 610"&gt;23 B.T.A. 610. It accordingly follows that the claim of the petitioner for a deduction in 1922 on account of the net loss sustained in the 11-month period ended December 31, 1921, must be denied. Judgment will be entered under Rule 50.